                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                      3:08-cr-134

UNITED STATES OF AMERICA,                              )
                                                       )     FINAL ORDER
       v.                                              )   AND JUDGMENT
                                                       ) CONFIRMING FORFEITURE
MANUEL de JESUS AYALA, et. al.                         )


       This Court entered multiple Preliminary Orders of Forfeiture pursuant to 21 U.S.C. § 853

and Fed. R. Crim. P. 32(d)(2), based upon Defendants’ guilty pleas and convictions at trials of

this matter and evidence already on record; and all Defendants were adjudged guilty of the

offenses charged in those counts.

       On June 08, 2012 through July 7, 2012, the United States published via

www.forfeiture.gov, notice of this forfeiture and of the intent of the government to dispose of the

forfeited property according to law, and further notifying all third parties of their right to petition

the Court within sixty days from June 8, 2012 for a hearing to adjudicate the validity of any

alleged legal interest in the property. It appears from the record that no such petitions have been

filed. Based on the record in this case, including the defendant’s plea of guilty, the Court finds,

in accordance with Rule 32.2(c)(2), that the Defendants had an interest in the property that is

forfeitable under the applicable statute.

       It is therefore ORDERED:

       In accordance with Rule 32.2(c)(2), the Preliminary Orders of Forfeiture are confirmed

as final. All right, title, and interest in the following property, whether real, personal, or mixed,

has therefore been forfeited to the United States for disposition according to law:

   ·   One Lorcin L-25 model .25 caliber pistol, serial number 218797 and ammunition;



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·   One Taurus model 605, .357 Magnum revolver, serial number TA96137 and
    ammunition;
·   One Intratec Tec9, 9mm pistol, serial number 20721 and ammunition;
·   One Bauer Firearms Corporation model 25SS, .325 caliber pistol, serial number
    028464 and ammunition;
·   One Ruger mode P90, .45 caliber semi-automatic pistol, serial number 662-20928
    and ammunition;
·   One Raven Arms model MP025, .25 caliber pistol, serial number 1218522 and
    ammunition;
·   One Smith & Wesson model 36, .38 caliber revolver, serial number J277698 and
    ammunition;
·   One Beretta model 950, .252 caliber pistol serial number BU65814V and
    ammunition;
·   One RG mode 23, .22 caliber revolver with obliterated serial number and
    ammunition;
·   One Norinco 9mm pistol, serial number 428219 and ammunition;
·   One Hi-Point model CF, .380 caliber pistol, serial number P752659 and
    ammunition;
·   One H&R .32 caliber revolver, serial number AX178793 and ammunition;
·   One Beretta Pietro model 70S, .380 caliber semi-automatic pistol serial number
    A03885Y and ammunition;
·   One Remington Speedmaster 552, .22 caliber rifle with obliterated serial number
    and ammunition;
·   One Beretta model 92D Centurion, 9mm pistol, serial number BER416801Z and
    ammunition;
·   One Ruger model P89, 9mm pistol, serial number 304-84590 and ammunition;
·   One SKS model M59-66, 7.62x39mm assault rifle, serial number H250844 and
    ammunition;
·   One Freedom Arms Ironsides model .22 caliber revolver, serial number B27600 and
    ammunition; and
·   One Rossi .38 Special revolver, serial number 117509 and ammunition.



                                       Signed: September 19, 2012




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